                            UNITED STATES DISTRICT COURT                          Motion GRANTED.
                            MIDDLE DISTRICT OF TENNESSEE                          Hearing reset for
                                 NASHVILLE DIVISION                               4/28/14 at 3:00 p.m.

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 3:03-00117
                                              )       Judge Trauger
                                              )
CLAYTON S. RICHARDSON                         )


            MOTION TO CONTINUE HEARING ON PETITION TO REVOKE
                          SUPERVISED RELEASE

       COMES NOW the Defendant, Clayton S. Richardson, by and through his undersigned

counsel, and respectfully requests that this Honorable Court enter an order continuing the hearing on

the Superseding Petition to Revoke Supervision (Docket Entry 228) from Friday, April 11, 2014 at

3:00 p.m., to a later date convenient to the Court and counsel, after April 25, 2014. In support

hereof, Defendant states as follows:

       1.      The final revocation hearing is currently scheduled for Friday, April 11, 2014 at 3:00

p.m. (Docket Entry 234). The Defendant was arrested on the revocation warrant on March 2, 2014

and was released after a detention and preliminary hearing on March 12, 2014.

       2.      One of the allegations in the Superseding Petition arises out of a Davidson County

General Sessions Court “sworn out” warrant (a citizen complaint without police investigation)

alleging aggravated burglary. That charge was dismissed today by Davidson County General

Sessions Judge Casey Moreland.




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